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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

EDWARD STEWART,                           :
             Plaintiff,                   :
                                           :
                  v.                       :                  Civil No. 2:20-cv-00776-JMG
                                          :
DAVID FELDMAN, et al.,                    :
                  Defendants.             :
__________________________________________

                                               ORDER

       AND NOW, this 15th day of October, 2020, upon consideration of Plaintiff’s Motion for

Sanctions (ECF No. 44) and any responses thereto, IT IS HEREBY ORDERED that Plaintiff’s

Motion is DENIED. 1


                                              BY THE COURT:



                                              /s/ John M. Gallagher
                                              JOHN M. GALLAGHER
                                              United States District Court Judge


1
  Whenever a party “fails to obey an order to provide or permit discovery,” the Court may sanction
the disobeying party through the imposition of any “further just orders.” Fed. R. Civ. P.
37(b)(2)(A). These may include “prohibiting the disobedient party from supporting or opposing
certain claims or defenses” or the entry of default judgment. Fed. R. Civ. P. 37(b)(2)(A)(ii), (vi).
The Court must also order the noncompliant party to pay reasonable expenses caused by the failure
to obey the Court’s order unless such failure was “substantially justified or other circumstances
make an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C). When considering whether to
impose “case-dispositive sanctions” under Rule 37, the Court must weigh several factors including
“(1) the extent of the party’s personal responsibility; (2) the prejudice to the adversary caused by the
failure to meet scheduling orders and respond to discovery; (3) a history of dilatoriness; (4) whether
the conduct of the party or attorney was willful; (5) the effectiveness of sanctions other than
dismissal; and (6) the meritoriousness of the claim or defense.” Poulis v. State Farm Fire & Gas
Co., 747 F.2d 863, 868 (3d Cir. 1984).
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The Court should balance these factors equally, with no one factor dispositive over the rest.
Mindek v. Rigatti, 964 F.2d 1369, 1373 (3d Cir. 1992). Although it is a close call, the Court finds
that these factors as applied to the instant case weigh ever so slightly in Defendant’s favor. Plaintiff
appears to, at least in part, attribute the complained-of noncompliance to the Defendant. See
generally Pl.’s Reply Br., ECF No. 52. Further, the discovery failures complained of here are a
matter of degree, rather than an absolute disregard for Defendant’s disclosure obligations. That
said, Defendant has in fact exhibited “consistent tardiness in complying with court orders.” Adams
v. Trustees of New Jersey Brewery Employees’ Pension Trust Fund, 29 F.3d 863, 875 (3d Cir.
1994). However, Plaintiff has not suffered “excessive and possibly irremediable burdens or costs”
as a result of the delays. Id. at 873–74. The Court also finds that Defendant’s conduct was not
“intentional or self-serving behavior” indicative of bad faith. Id. at 875. On balance, the
circumstances do not warrant the sanctions requested by Plaintiff. The Court likewise finds that
awarding expenses would be unjust at this time. Instead, the Court finds that a formal warning is an
appropriate alternative to Plaintiff’s request. Titus v. Mercedes Benz of N. Am., 695 F.2d 746, 759
n. 6 (3d Cir. 1982). The Court therefore advises Defendant that any future unexcused delays or
failure to fully comply with Court-imposed deadlines may tip the balance of the aforementioned
factors in favor of more severe corrective measures. For now, the Court will deny Plaintiff’s
Motion for Sanctions.
